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                                   71258



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

NETLIST, INC.                           §
                                        §
v.                                      §
                                        §   Case No. 2:22-cv-00293-JRG
SAMSUNG ELECTRONICS CO., LTD.,          §
SAMSUNG ELECTRONICS AMERICA,            §
INC., SAMSUNG SEMICONDUCTOR,            §
INC.                                    §


               MINUTES FOR PRETRIAL CONFERENCE – Day 2
           HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               October 9, 2024

OPEN: 09:01 AM                                                   ADJOURN: 03:11 PM


ATTORNEYS FOR PLAINTIFF:                    See attached

ATTORNEYS FOR DEFENDANTS:                   See attached.

LAW CLERKS:                                 Brendan McLaughlin
                                            Amy Wann
                                            Danielle Zapata

COURT REPORTER:                             Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                           Andrea Brunson, CP

  TIME                                  MINUTE ENTRY
09:01 AM   Court opened.
09:01 AM   Court proceeded with Day 2 of pretrial conference.
09:01 AM   Court heard argument re:
              • [SEALED] Samsung’s Daubert Motion and Motion to Strike Expert Testimony
                  of David Kennedy (Dkt. No. 346).
09:02 AM   Mr. Reger presented argument for Defendants.
09:31 AM   Responsive argument by Mr. Sheasby for Plaintiff.
10:05 AM   Rebuttal argument by Mr. Reger for Defendants.
10:11 AM   Additional responsive argument by Mr. Sheasby for Plaintiff.
10:12 AM   Court made rulings as set forth in the record re: 346.
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  TIME                                    MINUTE ENTRY
10:14 AM   Court concurrent argument re:
               • [SEALED] Netlist, Inc.’s Motion to Strike Portions of the Rebuttal Expert
                   Report of Lauren Kindler (Dkt. No. 355); and
               • [SEALED] Netlist, Inc.’s Motion to Strike Supplemental Rebuttal Expert
                   Report of Lauren Kindler (Dkt. No. 669).
10:15 AM   Mr. Sheasby presented argument for Plaintiff.
10:34 AM   Responsive argument by Mr. Reger for Defendants.
10:50 AM   Rebuttal argument by Mr. Sheasby for Plaintiff.
10:51 AM   Court made rulings as set forth in the record re: Dkt. Nos. 355 and 669.
10:54 AM   Conclusion of argument re: dispositive motions.
10:54 AM   Plaintiff’s disputed MILs:
10:54 AM   Without hearing argument, Court made rulings as set forth in the record.
10:57 AM   Defendants’ disputed MILS:
10:57 AM   Without hearing argument, Court made rulings as set forth in the record.
11:09 AM   Conclusion of MIL disputes.
11:09 AM   Court to recess and directed the parties to meet and confer re: remaining exhibit
           disputes.
11:11 AM   Recess.
01:30 PM   Court reconvened.
01:32 PM   Court was provided an update re: meet and confer efforts re: agreement of resolved
           exhibit disputes.
01:32 PM   Agreement by the parties recited into the record re: resolved exhibit disputes.
01:49 PM   Court heard argument and made rulings as set forth in the record re: remaining
           unresolved exhibit disputes.
02:34 PM   Court to CARRY ruling re: DTX 9 and DTX 25. Court directed the parties to meet and
           confer re: same.
02:35 PM   Recess.
03:02 PM   Court reconvened.
03:02 PM   Court was provided an update re: meet and confer efforts re: DTX 9 and DTX 25.
03:10 PM   Court made rulings as set forth in the record re: DTX 9 and DTX 25.
03:10 PM   Conclusion of argument re: exhibit disputes.
03:10 PM   Court directed the parties to update list of pre-admitted exhibits and provide to
           Courtroom Deputy, as well as file on the docket.
03:11 PM   Completion of pretrial process.
03:11 PM   Court adjourned.




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